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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


KIEL JAMES PATRICK LLC,

        Plaintiff,                                         Case No.: 1:18-cv-3777

v.                                                         Judge Andrea R. Wood

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Michael T. Mason
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                    NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendants identified on Schedule A of the

Complaint:

                              No.     Seller Name/Defendant

                              208     Best United
    Case: 1:18-cv-03777 Document #: 29 Filed: 07/09/18 Page 2 of 2 PageID #:1890



DATED: July 9, 2018                                   Respectfully submitted,

                                                      /s/ Keith A. Vogt
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                                                      ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 9, 2018 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
